      Case 2:20-cv-00187-SMJ     ECF No. 30    filed 07/06/20   PageID.877 Page 1 of 36




 1   JEROME R. AIKEN (WSBA NO. 14647)
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 4
     Attorneys for Plaintiffs James Blais and Gail Blais
 5

 6                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 7
     JAMES BLAIS and GAIL BLAIS,              )
 8                                            )   NO. 20-CV-00187-SMJ
                         Plaintiffs,          )
 9                                            )   AMENDED COMPLAINT FOR
            vs.                               )   PRELIMINARY AND PERMANENT
10                                            )   INJUNCTION
     ROSS HUNTER, in his official             )
11   capacity of Secretary of Washington      )
     State Department of Children, Youth      )
12   and Families,                            )
                                              )
13                  Defendant.                )
     ______________________________           )
14

15                                     I. INTRODUCTION

16         1.     James and Gail Blais are residents of the state of Washington who wish

17   to foster, and eventually adopt, their great-granddaughter, H.V., who has been

18   removed from her mother’s custody by the state of Idaho.

19         2.     As part of the process to secure a foster parent license overseen by the

20   Washington State Department of Children, Youth and Families, headed by
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      Case 2:20-cv-00187-SMJ      ECF No. 30    filed 07/06/20   PageID.878 Page 2 of 36




 1   Defendant Ross Hunter (collectively, the Department), the Department conducted a

 2   home study of the Blaises.

 3          3.    The Blaises proved qualified to be foster parents in every respect except

 4   one.

 5          4.    During the home study, the Blaises were asked how they would support

 6   a hypothetical foster child who might in the future develop or identify as lesbian,

 7   gay, bisexual, transgender, or questioning (LGBTQ+).

 8          5.    The Blaises responded that they would love and support the child, but

 9   – consistent with their sincerely held religious beliefs – they could not presently

10   affirm that they would agree to call H.V. by a name other than her legal name, use

11   pronouns that are inconsistent with H.V’s birth sex, or support the child in

12   undergoing counseling or medical procedures to transition to the opposite sex.

13          6.    The Department repeatedly pressed the Blaises to get “educated” on

14   this issue, to change their views, and, after the Blaises still declined, the Department

15   denied their application, thereby barring them from providing any foster care

16   services ever, including for their own great-granddaughter.

17          7.    The Department’s actions are subject to strict scrutiny under federal

18   law, and because the Department has other ways to pursue its alleged interests

19   without completely barring the Blaises from serving as foster parents, including for

20   their own great-granddaughter, the Department’s actions cannot survive that inquiry.
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      Case 2:20-cv-00187-SMJ     ECF No. 30    filed 07/06/20   PageID.879 Page 3 of 36




 1         8.     The Blaises thus seek a declaratory judgment and injunctive relief

 2   confirming that Defendant violated their rights under the Free Exercise and Free

 3   Speech Clauses of the First Amendment and under the Substantive Due Process

 4   Clause of the Fourteenth Amendment.

 5         9.     This action arises under the provisions of the First and Fourteenth

 6   Amendments to the United States Constitution pursuant to 42 U.S.C. § 1983.

 7                                   II. THE PARTIES

 8         10.    James Blais is a resident and domicile of the State of Washington. He

 9   is an observant and practicing member of the Seventh-day Adventist Church. He has

10   been married to Gail Blais since 2013.

11         11.    Gail Blais is a resident and domicile of the State of Washington. She is

12   an observant and practicing member of the Seventh-day Adventist Church. Gail was

13   previously married from 1968 to 2011, when her first husband died of cancer. She

14   has two children from her first marriage. The Blaises have no biological children

15   together.

16         12.    Defendant Ross Hunter is Secretary of the Washington State

17   Department of Children, Youth, and Families. The Department administers a foster

18   licensing and placement program pursuant to Washington state law. As Secretary,

19   Defendant Hunter is responsible for administering that program, as well as ensuring

20   that the Department meets it obligations to license foster parents and provide for the
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      Case 2:20-cv-00187-SMJ     ECF No. 30     filed 07/06/20   PageID.880 Page 4 of 36




 1   care, protection and development of children in state custody. At all times material

 2   to this lawsuit, Defendant Hunter acted within the course and scope of his duties as

 3   a public employee, was a state actor, and acted under color of state law.

 4                         III. JURISDICTION AND VENUE

 5         13.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§

 6   1331, 1343, and 1367(a).

 7         14.    This Court has personal jurisdiction over Defendant.

 8         15.    Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b).

 9                           IV. GENERAL ALLEGATIONS

10                        The Blaises and their Religious Beliefs

11         16.    The Blaises are observant members of the Seventh-day Adventist faith.

12         17.    The Seventh-day Adventist faith is a Protestant Christian faith that

13   places a strong emphasis on family life.

14         18.    Within the family structure, parenting is recognized as both a wonderful

15   blessing and an incredible challenge. But Seventh-day Adventists believe that these

16   challenges provide an opportunity for growth and afford many opportunities for

17   parents and children to grow and develop into the image of God.

18         19.    Seventh-day Adventists believe that parents are to bring up their

19   children to love and obey the Lord. Parents “must gain a sympathetic understanding

20   of their [children’s] problems, seek to provide for them a Christian social
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      Case 2:20-cv-00187-SMJ      ECF No. 30    filed 07/06/20   PageID.881 Page 5 of 36




 1   environment, and spiritually draw near them so [they] can impart the ideals,

 2   inspiration, and power of Christianity.” Seventh-day Adventist Church Manual (19th

 3   ed. 2015) at 152.1

 4         20.    As followers of Jesus, the Church strives to treat all people with dignity

 5   and respect. The Bible commands followers of Christ to love everyone. Created in

 6   the image of God, they must be treated with dignity and respect. This includes people

 7   of all sexual orientations and gender identities. The bible commands “You shall love

 8   your neighbor as yourself” (Mark 12:31).

 9         21.    Seventh-day Adventists believe that Scripture provides principles for

10   guidance and counsel to those who experience incongruity or uncertainty between

11   their biological sex and gender identity. As with all facets of daily existence,

12   Seventh-day Adventists seek guidance from God through Scripture to determine

13   what is in their best interest and to live according to His will (2 Tim 3:16).

14         22.    Seventh-day Adventists believe that Scripture provides principles for

15   guidance and counsel to those who experience incongruity or uncertainty between

16   their biological sex and gender identity. As with all facets of daily existence,

17

18
           1
19          The Seventh-day Adventist Church Manual is a Scripture-based guide that
     describes the operation and function of church organization and governance, and sets
20   forth many standards of Christian living central to the Seventh-day Adventist faith.
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 1   Seventh-day Adventists seek guidance from God through Scripture to determine

 2   what is in their best interest and to live according to His will (2 Tim 3:16).

 3                  The Blaises’ Desire to Become Licensed Foster Parents

 4         23.      Gail Blais and her first husband had two children. Her son, in turn, had

 5   five children. One of his daughters had two children, including a daughter, H.V. Gail

 6   Blais is thus H.V.’s biological great-grandmother.

 7         24.      H.V. was born in September 2019 in Idaho.

 8         25.      Shortly after her birth, and while still in the hospital, H.V. was removed

 9   from her biological parents and placed in foster care in Idaho based on concerns for

10   her welfare.

11         26.      In December 2019, the Idaho Department of Health and Welfare—

12   which oversees the Idaho foster and adoptive care program—contacted the Blaises

13   about H.V. and, in response, the Blaises expressed an interest in fostering and

14   potentially adopting H.V.

15            The Department’s Licensing Requirements for Foster Homes

16         27.      In Washington the licensing requirements for foster homes are

17   governed by Chapter 110-148 of the Washington Administrative Code. These

18   requirements are “designed to ensure children who are in foster care are safe, healthy

19   and protected from all forms of child abuse and neglect.” WAC 110-148-1300.

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      Case 2:20-cv-00187-SMJ      ECF No. 30    filed 07/06/20   PageID.883 Page 7 of 36




 1         28.    An applicant must (i) be at least 21 years of age; (ii) have sufficient

 2   income to support the applicant without relying on foster care payments; (iii)

 3   complete training in First Aid/CPR, HIV/AIDs, and blood borne pathogens; (iv)

 4   submit a negative tuberculosis test dated within the last year; and (v) have current

 5   pertussis and influenza immunizations. WAC 110-148-1320; 110-148-1365; 110-

 6   148-1375.

 7         29.    In addition, the applicant and all adult household members must pass a

 8   background clearance check with the FBI and Washington State Patrol. WAC 110-

 9   148-1320.

10         30.    Before granting a foster license, the Department also assesses both the

11   applicant’s “ability to provide a safe home and to provide the quality of care needed

12   by children placed in the home,” as well as whether the applicant meets the

13   Department’s training requirements. WAC 110-148-1320.

14         31.    An applicant is required to demonstrate “[t]he understanding, ability,

15   physical health, emotional stability, and personality suited to meet the physical,

16   mental, emotional, cultural and social needs of children under their care,” that they

17   have “functional literacy,” are “able to communicate with the child, the department,

18   health care providers, and other service providers,” and “may not use drugs or

19   alcohol . . . in a manner that affects [the applicant’s] ability to provide safe care to

20   children” WAC 110-148-1365.
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       Case 2:20-cv-00187-SMJ     ECF No. 30   filed 07/06/20   PageID.884 Page 8 of 36




 1          32.     Of utmost importance, applicants “must demonstrate they have the

 2   ability to furnish children with a nurturing, respectful, and supportive environment.”

 3   WAC 110-148-1365.

 4          33.     There is nothing under Washington law that authorizes the Department

 5   to impose any additional licensing requirements not set forth in the applicable

 6   regulations.

 7          34.     There is nothing under Washington law that imposes as a separate

 8   licensing requirement that prospective applicants must consider and definitively

 9   determine how they will care for a hypothetical child at some point in the distant

10   future.

11             Licensed Foster Parents’ Duty Towards Children In Their Care

12         35.      After a home has been licensed, the Department then identifies the

13   “maximum number, age range, and gender of the children that may be placed” in the

14   foster home, based on the foster parent’s “skills, the number of care providers, the

15   physical accommodations of [the] home and the needs of the children placed in [the]

16   home.” WAC 110-148-1385.

17         36.      For children placed by the Department, foster parents must “make all

18   reasonable efforts to ensure that children are not abused or neglected.” WAC 110-

19   148-1520. Foster parents “must provide and arrange for care that is appropriate for

20   the child's age and development including: (a) Emotional support; (b) Nurturing and
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 1   affection; (c) Structured daily routines and living experiences; and (d) Activities that

 2   promote the development of each child. This includes cultural and educational

 3   activities in your home and the community.” WAC 110-148-1520.

 4         37.     With regard to infants and young children, the Department specifies

 5   that foster parents “must: (a) Hold infants, under the age of six months, for all bottle

 6   feedings; (b) Hold infants at other times for the purposes of comfort and attention;

 7   and (c) Allow children plenty of free time outside of a swing, crib or playpen.” WAC

 8   110-148-1520(3).

 9         38.     The Department also specifies that foster parents “must follow all state

10   and federal laws regarding nondiscrimination while providing services to children in

11   your care. You must treat foster children in your care with dignity and respect

12   regardless of race, ethnicity, culture, sexual orientation and gender identity.” WAC

13   110-148-1520(6).

14         39.     Foster parents similarly “must connect a child with resources that meets

15   a child’s needs regarding race, religion, culture, sexual orientation and gender

16   identity. These include cultural, educational and spiritual activities in your home and

17   community including tribal activities within the child's tribal community or extended

18   tribal family.” WAC 110-148-1520(7). The child’s social worker or case manage is

19   tasked to assist “with identifying these resources.” Id.

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      Case 2:20-cv-00187-SMJ     ECF No. 30    filed 07/06/20   PageID.886 Page 10 of 36




 1        40.     Licensed foster parents also “must ensure that children receive

 2   appropriate medical and dental care.” WAC 110-148-1550.

 3                    The Department’s Policy to Support LGBTQ+
                                 Children and Youth
 4
           41.    In July 2018, the Department enacted Policy 6900, entitled “Supporting
 5
     LGBTQ+ Identified Children and Youth.”
 6
           42.    The Policy explicitly “applies to [Department] staff,” and does not
 7
     address the extent or manner in which it applies to foster families.
 8
           43.    The Policy’s stated purpose is “[t]o address the specific needs of
 9
     children and youth under the age of 21 receiving Children’s Administration (CA)
10
     services who are developing, discovering, or identifying themselves as lesbian, gay,
11
     bisexual, transgender and questioning (LGBTQ+)” and to “provide guidance to
12
     assist CA staff in identifying and referring LGBTQ+ children and youth to
13
     appropriate and culturally responsive services.”
14
           44.    Under the Policy, a caseworker must “[c]onsider the child or youth’s
15
     LGBTQ+ identity as a factor when making placement decisions,” including
16
     “[d]etermining, on a case-by-case basis, which placement option would be in the
17
     child or youth’s best interest for their safety and well-being.” (Emphasis added.)
18
           45.    The Policy also mandates that a caseworker “[s]upport any youth
19
     identifying as transgender and seeking gender affirming medical services. This
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     Case 2:20-cv-00187-SMJ      ECF No. 30    filed 07/06/20   PageID.887 Page 11 of 36




 1   includes, but is not limited to: Following the advice of the medical and therapeutic

 2   professionals working with the youth. Standard medical protocols must be

 3   followed.”

 4         46.    The Policy further authorizes a caseworker to “[o]btain[] a court order

 5   or parent or legal guardian consent before providing consent for a youth to undergo

 6   gender affirming related medical care” such as “Hormone blockers,” “Hormone

 7   Replacement Therapy (HRT),” or “Behavior Health Services (Gender Dysphoria).”

 8         47.    There is nothing in Policy 6900 that applies to the Department’s foster

 9   parent licensing requirements or that authorizes the Department to impose any of the

10   Policy’s caseworker mandates on prospective foster parents.

11         48.    There is nothing in Policy 6900 that imposes any separate foster parent

12   licensing requirement with which applicants must comply.

13         49.    There is nothing in Policy 6900 that applies to children who are not

14   within the Department’s custody and care, and nothing that applies to hypothetical

15   children who may be in the Department’s custody and care sometime in the future

16   from the date of the prospective foster parents’ application.

17                               Foster Care in Washington

18         50.    As of June 2018, Washington had approximately 9,200 children and

19   youth in out-of-home placements, with only about 5,110 available foster homes.

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     Case 2:20-cv-00187-SMJ      ECF No. 30        filed 07/06/20   PageID.888 Page 12 of 36




 1         51.    Thus, a growing number of children are removed from their families

 2   only to enter a foster care system that cannot even place them in a home. Hundreds

 3   of these children spend countless nights in hotels, while others are sent out of state

 4   to group facilities with questionable practices.

 5         52.    In short, Washington has a foster care crisis caused by too many

 6   children in need of the State’s care and protection and not enough qualified licensed

 7   foster homes in which to place them.

 8                     The Department’s Family Home Study Guide

 9         53.    In January 2020, the same month the Blaises applied for a license, the

10   Department revised its “Family Home Study Guide” and its related “Family Home

11   Study Questions and Prompts,” which identifies questions Foster Care Licensors can

12   ask families in conducting a home study.

13         54.    Although the Department enacted Policy 6900 in 2018, the earlier

14   versions of these guidance documents did not contain questions about foster children

15   who identify, or may at some time in the future identify, as LGBTQ+.

16         55.    The guide does not suggest how a foster-care applicant must respond to

17   these questions to qualify for the license.

18         56.     The document specifically states that its purpose is only “to provide

19   workers with a framework for interviews. The purpose of this guide is to provide

20   workers with a framework for interviews. This guide is not intended to be the only
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     Case 2:20-cv-00187-SMJ       ECF No. 30    filed 07/06/20   PageID.889 Page 13 of 36




 1   source of questions or topics during the process, as the worker’s responsibility is to

 2   complete a holistic assessment to ensure that foster family homes are safe and

 3   suitable for foster children.”

 4                                    The Blaises’ Home Study

 5         57.    In early January 2020, around the same time that the new “Family

 6   Home Study Questions & Prompts” issued, the Blaises heard from Patrick Sager, the

 7   Foster Home Licensor assigned to conduct their home study.

 8         58.    After the Blaises confirmed their interest in becoming foster parents,

 9   Mr. Sager provided them with information about the Washington foster-parent

10   license process and that same month sent a link where they could take online

11   Caregiver Core Training and secure a certificate of completion.

12         59.    The Blaises were also contacted by Amber Moody, a Recruiter Peer

13   Mentor, who works with the Department in Eastern Washington to provide support

14   to relative/foster/ adoptive families in Stevens County.

15         60.    Amber Moody provided the Blaises with additional information about

16   the Caregiver Core Training program, certification classes for CPR training, and

17   foster parent orientation sessions in their area.

18         61.    In mid-January 2020, Mr. Sager interviewed the Blaises and performed

19   an inspection of their home.

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     Case 2:20-cv-00187-SMJ     ECF No. 30    filed 07/06/20   PageID.890 Page 14 of 36




 1         62.   At the time of the interview, Gail Blais had begun the training mandated

 2   by the Department to become a licensed foster parent. The interview with Gail lasted

 3   approximately 90 minutes and the interview with James took roughly one hour.

 4         63.   At the time of the interview, H.V. was four months old.

 5         64.   During Mr. Sager’s interviews of Gail and James:

 6               a.     Mr. Sager was aware that both Gail and James are observant

 7         members of the Seventh-day Adventist faith.

 8               b.     Mr. Sager asked a number of appropriate questions dealing

 9         directly with the Washington foster parent licensing requirements focusing on

10         such things as the Blaises’ family history, the manner in which Gail and James

11         had raised their children, communication issues, dietary considerations, and

12         the use of corporal punishment.

13               c.     In addition to these questions, Mr. Sager also extensively

14         questioned both Gail and James with regard to hypothetical issues related to

15         H.V.’s possible future sexual orientation and gender identity.

16         65.   These questions included such things as:

17                      a.    How would the Blaises react if H.V. was a lesbian?

18                      b.    Would the Blaises allow H.V. to have a girl spend the

19               night at their home as H.V.’s romantic partner?

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     Case 2:20-cv-00187-SMJ      ECF No. 30    filed 07/06/20   PageID.891 Page 15 of 36




 1                       c.    If at 15 years old, H.V. wanted to undergo hormone

 2                therapy to change her sexual appearance, would the Blaises support that

 3                decision and transport her for those treatments?

 4                       d.    If, as a teenager, H.V. wanted to dress like a boy and be

 5                called by a boy’s name, would the Blaises accept her decision and allow

 6                her to act in that manner?

 7          66.   Gail and James were both surprised and taken aback by these questions.

 8   Given that H.V. was only 4 months old, they had a difficult time imagining how they

 9   would respond to circumstances that may or may not occur 15 years into the future.

10   Nonetheless, both Gail and James cooperated with the interview and responded to

11   all of the questions openly, honestly, and in a manner consistent with their religious

12   beliefs.

13          67.   Gail and James made clear to Mr. Sager that, as Seventh-day

14   Adventists, they believe it is important and part of their Christian obligation to love

15   and support all. This duty especially applies to youth who may feel isolated or

16   uncomfortable because of who they are, including those who are realizing their

17   sexual orientation or identity. The Blaises made clear that they would provide a

18   supporting and loving home for any child placed under their care—particularly their

19   own great-granddaughter—regardless of how that child might identify.

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     Case 2:20-cv-00187-SMJ     ECF No. 30    filed 07/06/20   PageID.892 Page 16 of 36




 1         68.    With regard to the specific hypothetical questions relating to possible

 2   hormone therapy, the Blaises responded that although they could not support such

 3   treatments based on their sincerely-held religious convictions, they absolutely would

 4   be loving and supportive of H.V.

 5         69.    The Blaises also indicated that, in the unlikely event H.V. may develop

 6   gender dysphoria (or any other medical condition) as a teenager or young adult, they

 7   would provide her with loving, medically and therapeutically appropriate care that

 8   is consistent with both then-current medical principles and their beliefs as Seventh-

 9   day Adventists and Christians.

10         70.    At the conclusion of the interview, Mr. Sager indicated that, most

11   likely, the Department would not approve the Blaises’ application to become foster

12   parents. According to Mr. Sager, the Blaises’ responses to questions about H.V.’s

13   future gender identity were inconsistent with the Department’s policy to support

14   LGBQT+ children and youth.

15         71.    In early February 2020, Mr. Sager emailed James Blais and stated that

16   he had been “tasked with ensuring you are provided relevant information and

17   research regarding LGBTQ+ youth in foster care.” Mr. Sager asked James to review

18   these materials so that he might “make a more informed decision about supporting

19   LGBTQ+ youth in foster care.” In response, James promised they would review the

20   materials within the coming week.
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     Case 2:20-cv-00187-SMJ       ECF No. 30    filed 07/06/20   PageID.893 Page 17 of 36




 1         72.    In mid-February, after having read those materials, James and Gail

 2   responded to Mr. Sager. They reiterated their sincerely-held religious belief in loving

 3   all persons regardless of their sexual orientation or identity. They repeated their

 4   commitment to provide a loving and supportive home for any foster child in their

 5   care. And they again expressed their conviction—based on their faith—that they

 6   could not support hormone treatment for transition purposes. They also stated that

 7   they did not think that their religious beliefs were incompatible with providing care

 8   for gender dysphoria or any other issue, and committed to providing H.V. the best

 9   care and most loving home that they can.

10         73.    The Blaises repeated that they would love nothing more than to

11   welcome H.V. into their home and raise her as their own child, with the same

12   unconditional love they showed to their other children. They asked the Department

13   to approve their application to become foster parents, and offered to meet again in

14   order to further explain their position and beliefs.

15         74.    Mr. Sager emailed James and thanked him for his honesty. He also

16   informed James “that this is being staffed with additional parties” and that “this will

17   be discussed further.”

18         75.    During this same time period (January and February 2020), Gail and

19   James were in contact with the Idaho Department of Health and Welfare about a

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     Case 2:20-cv-00187-SMJ       ECF No. 30    filed 07/06/20   PageID.894 Page 18 of 36




 1   possible visit with H.V. They finally were able to travel to Idaho and meet with H.V.

 2   in late February.

 3         76.    Soon after Gail and James returned from visiting H.V. in Idaho, Mr.

 4   Sager called them. During this telephone call, Mr. Sager asked additional questions

 5   concerning H.V.’s possible future sexual orientation and gender identity. These

 6   questions included

 7                a.      If H.V. had a lesbian girlfriend, would the Blaises be willing to

 8         have her visit their home and possibly travel with them?

 9                b.      Would the Blaises find it acceptable if H.V. dressed like a boy?

10                c.      Would the Blaises find it acceptable if H.V. wanted to be called

11         by a boy’s name?

12                d.      If at age 14, a doctor ordered H.V. to undergo hormone therapy

13         to change her sexual appearance, would the Blaises comply with that order?

14                e.      If at age 14, H.V. said that if the Blaises did not agree with her

15         having hormone therapy she would leave their home and run away, how

16         would they respond?

17         77.    Mr. Sager did not ask any questions about any other topics or issues

18   during this follow-up interview session. ‘

19         78.    At the time of this telephone interview, H.V. was five months old.

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     Case 2:20-cv-00187-SMJ      ECF No. 30    filed 07/06/20   PageID.895 Page 19 of 36




 1         79.     At the conclusion of the interview, Mr. Sager told the Blaises that they

 2   should drop their request to become licensed foster parents because their religious

 3   views about handling H.V.’s possible future gender identity issues were inconsistent

 4   with the Department’s policy.

 5         80.     Mr. Sager further told the Blaises that if they did not withdraw their

 6   application, then their responses would be noted in the Department’s records and

 7   would negatively impact their ability to be licensed foster parents in Washington in

 8   the future.

 9         81.     The Blaises refused to change their responses and refused to withdraw

10   their foster parent application. Mr. Sager indicated that the Department would send

11   its denial letter shortly. When the Blaises pressed him for a more definite time frame,

12   Mr. Sager said the letter would take about two weeks.

13         82.     Mr. Sager did not get back to the Blaises as promised, and the

14   Department did not send any letter within the anticipated timeframe. In response to

15   an inquiry from James sent one week later, Mr. Sager texted that he did not “have

16   an answer yet. I am waiting to hear back from someone.”

17         83.     Two weeks later—in mid-March—Mr. Sager again texted James, this

18   time asking whether James “could meet me and a coworker” the following week.

19         84.     In an email sent several days later, Mr. Sager explained to James that

20   he “wanted to meet with you and my co-worker. . . . She is a foster care licensor in
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     Case 2:20-cv-00187-SMJ      ECF No. 30    filed 07/06/20   PageID.896 Page 20 of 36




 1   Spokane. She also is our LGBTQ+ lead. I was hoping we all could meet together as

 2   she may have additional resources regarding LGBTQ+ that may be of benefit. We

 3   felt as a department we wanted to provide another opportunity to hopefully come to

 4   a resolution regarding the [Interstate Compact on the Placement of Children] request

 5   for H.V.”

 6          85.    The Blaises agreed to meet with Department representatives and be

 7   questioned for a third time. Once again, the sole focus of the interview questions

 8   posed by the representatives of the Department was on the manner in which the

 9   Blaises would respond to H.V.’s possible future sexual orientation and gender

10   identity when she was a teenager.

11          86.    At the time of this third interview, H.V. was six months old.

12          87.    As they had done during the first two interviews with the Department,

13   both Gail and James cooperated fully during the third interview session, and again

14   responded to all of the questions openly, honestly, and in a manner consistent with

15   their religious beliefs.

16          88.    At the end of this third interview, Mr. Sager’s co-worker told the

17   Blaises that they were at “an impasse” as how to proceed with the foster parent

18   license application.

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     Case 2:20-cv-00187-SMJ     ECF No. 30    filed 07/06/20   PageID.897 Page 21 of 36




 1         89.    Several days later, after hearing nothing from the Department, James

 2   contacted Mr. Sager and asked whether the Department “will be able to license us

 3   for foster care? Please send me your decision in writing ASAP.”

 4         90.    On March 30, 2020, Mr. Sager emailed James saying only “I don't have

 5   an answer at this time. We are in discussion with others about how to proceed and I

 6   will get an answer to you as soon as we have information to provide.”

 7         91.    On April 5, 2020, Mr. Sager again emailed James and again said that

 8   the Department still had not made a decision. According to Mr. Sager, “Licensing

 9   division is still discussing with the appropriate chain of command about how to

10   proceed, and will have an answer as soon as possible.”

11         92.    Once again, Mr. Sager stated that he had “been asked to provide you

12   both with a training opportunity that pertains to what we have discussed previously,”

13   and provided a link that training. That training consisted of a two-hour course that

14   focused on such topics as “Myths and stereotypes about LGBTQ+ children/youth”

15   and “how to promote the health, safety and well-being of the children/youth in care.”

16         93.    The Blaises have completed a portion of their training to become

17   licensed foster parents. After their first interview with Mr. Sager in January 2020,

18   Mr. Sager advised the Blaises not to engage in any preparation that would cost them

19   any money.

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 1         94.    Mr. Sager told the Blaises that, but for their answers to questions about

 2   H.V.’s hypothetical sexual orientation and gender identity, they were acceptable

 3   applicants to become licensed foster parents.

 4                         The Denial of the Blaises’ Application

 5         95.    After filing of this lawsuit and nearly three and a half months later, on

 6   June 16, 2020, the Department sent the Blaises a letter denying their application to

 7   become foster parents.

 8         96.    The letter acknowledged that there were “many situations” where the

 9   Blaises would be able to support a foster child who identified as LGBTQ+, but not

10   if supporting services “were not consistent with their religious beliefs.”

11         97.    For example, the letter notes that the Blaises “would support a foster

12   child and allow the child’s partner in their home and on trips.”

13         98.    The Blaises also stated that “[w]hile we are not willing to commit to

14   hormone treatment far into the future for an infant, in the very unlikely event that

15   baby [H.V.] develops gender dysphoria in the future (or any other medical condition)

16   we will provide her with loving, medically and therapeutically appropriate care that

17   is consistent with sound science and our beliefs as Seventh-day Adventists and

18   Christians.” (Emphasis added).

19         99.    However, the Blaises also expressed that, consistent with their sincerely

20   held religious beliefs – they could not presently affirm that they would agree to call
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 1   H.V. by a name other than her legal name, use pronouns that are inconsistent with

 2   H.V’s birth sex, or support the child in undergoing counseling or medical procedures

 3   to transition to the opposite sex.

 4         100. Concluding that “services that are consistent with [the Blaises]

 5   religious beliefs” would “not meet the Department’s minimum licensing

 6   requirements,” the Department denied the Blaises’ application.

 7         101. The Department has never identified what standard the Blaises’ would

 8   be required to meet in affirming what they would do in any given future situation

 9   before they can know the precise needs of the child or the prevailing relevant medical

10   advice. The standard instead is flexible, and according to the Department’s “Family

11   Home Study Questions and Prompts,” “[c]oncerns about applicants do not

12   automatically result in a denial of a foster care license, or even require additional

13   training.”

14         102. In the meantime, while the Department has delayed and ultimately

15   denied the Blaises’ application over these uncertainties, the Idaho Department of

16   Health and Welfare has placed H.V. in foster care with non-relative foster parents in

17   Idaho and is moving forward to terminate the parental rights of H.V.’s biological

18   parents.

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 1         103. Separate and apart from whether the Blaises are able to serve as foster

 2   parents for H.V., they are committed to becoming licensed foster parents in

 3   Washington.

 4         104. They have an honest and unwavering desire to help children in need

 5   and truly want the opportunity to provide a safe, stable and caring home for children.

 6         105. Jim and Gail Blais are willing to serve as foster parents for children and

 7   to love and encourage them regardless of their race, sex, religion, national origin,

 8   ancestry, age, disability, familial status, sexual orientation, or gender identity.

 9                             COUNT I
                            42 U.S.C. § 1983
10               VIOLATION OF THE FIRST AMENDMENT
                      TO THE U.S. CONSTITUTION
11        FREE EXERCISE CLAUSE —INDIVIDUALIZED ASSESSMENT

12         106. Plaintiffs reallege and incorporate by reference all the foregoing

13   paragraphs and all subparagraphs as if they were fully set forth herein.

14         107. The Department’s denial of the Blaises’ application for a foster license

15   places a substantial burden on their religious exercise by forcing them to choose

16   between the opportunity to be considered as foster parents, and potentially adoptive

17   parents, for their great-granddaughter and maintaining their religious beliefs.

18         108. The Department’s denial of their application also imposes a substantial

19   burden on their religious exercise by forcing them to choose between the opportunity

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     Case 2:20-cv-00187-SMJ       ECF No. 30     filed 07/06/20   PageID.901 Page 25 of 36




 1   to be considered as foster parents for other children in need and maintaining their

 2   religious beliefs.

 3         109. The Department’s ultimate decision to deny the Blaises’ application

 4   was based on an individualized assessment of their religious beliefs and their

 5   responses to the Mr. Sager’s questions.

 6         110. When a law or policy gives the government discretion to make case-

 7   by-case decisions based on the unique circumstances of a particular situation, strict

 8   scrutiny is required.

 9         111. The Department lacks a compelling governmental interest in requiring

10   the Blaises or other foster-care applicants proactively to affirm how they will

11   respond to a hypothetical situation that may or may not happen sometime in the

12   future.

13         112. To the extent the Department has a compelling governmental interest,

14   there are other ways it could meet that interest that are less restrictive to religion.

15         113. Absent declaratory and injunctive relief, the Blaises have been, and will

16   continue to be, irreparably harmed by the Department’s actions.

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 1                                COUNT II
                               42 U.S.C. § 1983
 2                  VIOLATION OF THE FIRST AMENDMENT
                         TO THE U.S. CONSTITUTION
 3             FREE EXERCISE CLAUSE —IMPOSING SPECIALIZED
               DISABILITIES ON THE BASIS OF RELIGIOUS BELIEF
 4
           114. Plaintiffs reallege and incorporate by reference all the foregoing
 5
     paragraphs and all subparagraphs as if they were fully set forth herein.
 6
           115. The Blaises are qualified to be licensed as foster parents and were
 7
     denied a license only because they stated they would support a hypothetical foster
 8
     child who might identify as LGBTQ+ consistent with their religious beliefs.
 9
           116. The Department denied the Blaises’ application because providing
10
     “services that are consistent with their religious beliefs” would “not meet the
11
     Department’s minimum licensing requirements[.]”
12
           117. Barring the Blaises, based on their religious beliefs, from providing any
13
     foster care services, even for their own great-granddaughter, violates their
14
     constitutional rights.
15
           118. The First Amendment excludes all governmental punishment of
16
     religious beliefs as such.
17
           119. The government cannot punish the expression of religious beliefs that
18
     it considers false or impose special disabilities on the basis of religious views or
19
     religious status.
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 1         120. Such governmental punishment of religious beliefs is never

 2   permissible.

 3         121. The Department’s denial of the Blaises’ foster care license based on

 4   their religious beliefs was per se unconstitutional under the Free Exercise Clause.

 5         122. Absent declaratory and injunctive relief, the Blaises have been, and will

 6   continue to be, irreparably harmed by the Department’s actions.

 7                                 COUNT III
                                 42 U.S.C. § 1983
 8                    VIOLATION OF THE FIRST AMENDMENT
                           TO THE U.S. CONSTITUTION
 9                   FREE EXERCISE CLAUSE —NOT NEUTRAL

10         123. Plaintiffs reallege and incorporate by reference all the foregoing

11   paragraphs and all subparagraphs as if they were fully set forth herein.

12         124. Government action is not “neutral” if it “restrict[s] practices because of

13   their religious motivation.” Church of the Lukumi Babalu Aye, Inc. v. City of

14   Hialeah, 508 U.S. 520, 533 (1993).

15         125. “Facial neutrality is not determinative.” Lukumi, 508 U.S. at 534.

16   Rather the Free Exercise Clause also forbids “covert suppression” of religion and

17   “subtle departures from neutrality.” Id.

18         126. On information and belief, the agency’s policy here was motivated

19   traditional religious beliefs about sexuality and gender identity.

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 1         127. The Department excludes potential foster parents who will not “affirm”

 2   LGBTQ+ children in specific ways, even if such acquiescence violates the foster

 3   parents’ own sincerely-held religious beliefs.

 4         128. The denial of their application for a foster license places via non-neutral

 5   proceedings imposed a substantial burden on their religious exercise by forcing them

 6   to choose between the opportunity to be considered as foster parents, including for

 7   their great-granddaughter, and maintaining their religious beliefs.

 8         129. The policy imposed a substantial burden on the Blaises’ religious

 9   exercise by forcing them to choose between the opportunity to be considered as

10   foster parents, including for their great-granddaughter, and maintaining their

11   religious beliefs.

12         130. The Blaises are entitled to be evaluated as foster parents via a process

13   that is not biased against their religious beliefs.

14         131. At minimum, a government policy that is not neutral triggers strict

15   scrutiny.

16         132. The Department lacks a compelling governmental interest in requiring

17   the Blaises or other foster-care applicants to proactively affirm how they will

18   respond to a hypothetical situation that may or may not happen sometime in the

19   future.

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 1         133. To the extent the Department has a compelling governmental interest,

 2   there are other ways it could meet that interest that are less restrictive to religion.

 3         134. Absent declaratory and injunctive relief, the Blaises have been, and will

 4   continue to be, irreparably harmed by the Department’s actions.

 5                                 COUNT IV
                                 42 U.S.C. § 1983
 6                    VIOLATION OF THE FIRST AMENDMENT
                           TO THE U.S. CONSTITUTION
 7                     FREE SPEECH—COMPELLED SPEECH

 8         135. Plaintiffs reallege and incorporate by reference all the foregoing

 9   paragraphs and all subparagraphs as if they were fully set forth herein.

10         136. The Government cannot compel a party “to be an instrument for

11   fostering public adherence to an ideological point of view.” Wooley v. Maynard, 430

12   U.S. 705, 715 (1977).

13         137. Government regulations that “target speech based on its communicative

14   content . . . are presumptively unconstitutional and may be justified only if the

15   government proves that they are narrowly tailored to serve compelling state interests.

16         138. “[F]reedom of speech includes both the right to speak freely and the

17   right to refrain from speaking at all. . . . Compelling individuals to mouth support

18   for views they find objectionable violates [a] cardinal constitutional command” and

19   should be “universally condemned.” Janus, 138 S. Ct. 2448, 2463 (2018). Indeed,

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 1         139. The Blaises’ great-granddaughter is an infant and, like most children in

 2   foster care, may never identify as LGBTQ+.

 3         140. Requiring foster parents to affirm as an ideological matter the state’s

 4   views on sexual orientation and gender identity, regardless of whether those views

 5   will ever be implicated in providing foster care is a requirement of speech, not

 6   conduct.

 7         141. By requiring the Blaises, as a condition for getting a license, to affirm

 8   what they would do in a hypothetical situation that might never arise, the state is

 9   compelling speech to foster adherence to the government’s preferred point of view.

10         142. The Department does not have a compelling interest in forcing the

11   Blaises to affirm that they will speak in certain ways regarding hypothetical issues

12   that may or may not ever arise.

13         143. To the extent the Department alleges a compelling interest, there are

14   other ways to meet that interest that are less restrictive of religion.

15         144. Absent declaratory and injunctive relief, the Blaises have been, and will

16   continue to be, irreparably harmed by the Department’s actions.

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 1                                COUNT V
                               42 U.S.C. § 1983
 2               VIOLATION OF THE FOURTEENTH AMENDMENT
                         TO THE U.S. CONSTITUTION
 3                       SUBSTANTIVE DUE PROCESS

 4         145. Plaintiffs reallege and incorporate by reference all the foregoing

 5   paragraphs and all subparagraphs as if they were fully set forth herein.

 6         146. Substantive due process forbids the government from arbitrarily

 7   interfering in “those privileges long recognized at common law as essential to the

 8   orderly pursuit of happiness” by a free people. Meyer v. Nebraska, 262 U.S. 390,

 9   399 (1923).

10         147. Such privileges include the right to maintain family relationships

11   without undue interference by the government.

12         148. These rights and privileges extend beyond immediate family members

13   to protect the right of extended family members to maintain familial relationships

14   without undue government interference.

15         149. At minimum, substantive due process supports the Blaises’ right to be

16   considered as foster parents for their great-granddaughter without undue government

17   interference.

18         150. The state’s policy bars the Blaises from being considered as foster

19   parents to their great-granddaughter unless they agree affirm the state’s approach to

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     Case 2:20-cv-00187-SMJ      ECF No. 30   filed 07/06/20   PageID.908 Page 32 of 36




 1   LGBTQ+ children, even though their great-granddaughter is still an infant, may

 2   never identify as LGBTQ+, or could be adopted before such concerns arise.

 3         151. The policy thus unduly interferes with the Blaises’ substantive due

 4   process right as family to be considered as foster parents for their great-

 5   granddaughter.

 6         152. Absent declaratory and injunctive relief, the Blaises have been, and will

 7   continue to be, irreparably harmed by the Department’s actions.

 8                                 COUNT VI
                                 42 U.S.C. § 1983
 9                    VIOLATION OF THE FIRST AMENDMENT
                           TO THE U.S. CONSTITUTION
10                      FREE EXERCISE—HYBRID RIGHTS

11         153. Plaintiffs reallege and incorporate by reference all the foregoing

12   paragraphs and all subparagraphs as if they were fully set forth herein.

13         154. Government restrictions that burden religion are subject to strict

14   scrutiny when the restrictions simultaneously burden other constitutional rights.

15   Employment Div. v. Smith, 494 U.S. 872, 881 (1990).

16         155. The state’s policy impinges not only on the Blaises’ freedom of

17   religion, but also on their rights to freedom of speech and their substantive due

18   process right to have equal access to the right to foster and potentially adopt their

19   own kin without having to accept the government’s viewpoints on child rearing.

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     Case 2:20-cv-00187-SMJ       ECF No. 30     filed 07/06/20   PageID.909 Page 33 of 36




 1          156. Because the government regulations at issue infringe multiple

 2   constitutional rights, strict scrutiny applies.

 3          157. The Department lacks a compelling governmental interest in requiring

 4   the Blaises or other foster-care applicants to proactively affirm how they will

 5   respond to a hypothetical situation that may or may not happen sometime in the

 6   future.

 7          158. To the extent the Department has a compelling governmental interest,

 8   there are other ways it could meet that interest that are less restrictive to religion.

 9          159. Absent declaratory and injunctive relief, the Blaises have been, and will

10   continue to be, irreparably harmed by the Department’s actions.

11                                  COUNT VII
                                  42 U.S.C. § 1983
12                     VIOLATION OF THE FIRST AMENDMENT
                            TO THE U.S. CONSTITUTION
13                       UNCONSTITUTIONAL CONDITIONS

14          160. Plaintiffs reallege and incorporate by reference all the foregoing

15   paragraphs and all subparagraphs as if they were fully set forth herein.

16          161. In the same way that the Department generally cannot directly compel

17   speech or the free exercise of religion, it cannot do so indirectly through conditioning

18   a government benefit (here a license to foster). Agency for Int’l Dev. v. AOSI, 570

19   U.S. 205, 214 (2013).

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     Case 2:20-cv-00187-SMJ      ECF No. 30     filed 07/06/20   PageID.910 Page 34 of 36




 1         162. The Blaises’ ability to apply to the government for a license that would

 2   allow them to foster and potentially adopt their own great-granddaughter is a

 3   valuable benefit.

 4         163. That benefit cannot be conditioned on the Blaises’ giving up

 5   constitutional rights.

 6         164. The Department has conditioned the issuance of a license on the

 7   Blaises’ agreement to abandon rights under the First and Fourteenth Amendments.

 8         165. For all the reasons above, the Department cannot condition a

 9   government benefit on unconstitutional actions without satisfying strict scrutiny.

10                                 PRAYER FOR RELIEF

11         Plaintiffs Gail and James Blais request that the Court enter a judgment in their

12   favor and against Defendant Hunter, Secretary of Washington State Department of

13   Children, Youth and Families for the following:

14         1.     Declaratory relief that the denial of the Blaises’ application to become

15   licensed foster parents by Defendant and the Department based on the Blaises’

16   sincerely-held religious beliefs is unconstitutional;

17         2.     Injunctive relief, requiring Defendant and the Department he oversees

18   to grant the Blaises’ foster parent application.

19         3.     Injunctive relief, enjoining Defendant and the Department he oversees

20   from enforcing or threatening to enforce Policy 6900 or any other Department
                                                                              LAW OFFICES OF
      Amended Complaint for Preliminary                              MEYER, FLUEGGE & TENNEY, P.S.
                                                                    230 South Second Street ∙ P.O. Box 22680
      and Permanent Injunction - 34                                        Yakima, WA 98907-2680
                                                                           Telephone (509) 575-8500
     Case 2:20-cv-00187-SMJ     ECF No. 30    filed 07/06/20   PageID.911 Page 35 of 36




 1   policy, regulation or practice with regard to the Department’s consideration of an

 2   application to become licensed foster parents in a manner that conflicts with the

 3   applicant’s sincerely held religious beliefs concerning sexual orientation or gender

 4   identity.

 5          4.   Reasonable attorneys’ fees and costs of suit under 42 U.S.C. § 1988 or

 6   such other authority as may authorize such an action; and

 7          5.   Such other and further relief as the Court deems just and proper.

 8          RESPECTFULLY SUBMITTED this 6th day of July, 2020.

 9                                   s/ Jerome R. Aiken
                                     JEROME R. AIKEN, WSBA #14647
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13                                   s/ Todd R. McFarland
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17                                   s/ Andrew G. Schultz
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                                                                         Telephone (509) 575-8500
     Case 2:20-cv-00187-SMJ      ECF No. 30    filed 07/06/20   PageID.912 Page 36 of 36




 1                         CERTIFICATE OF TRANSMITTAL

 2          I hereby certify under penalty of perjury of the laws of the state of Washington
     that on July 6, 2020, I electronically filed the foregoing document with the Clerk of
 3   the Court using the CM/ECF System which will automatically provide service on
     the below listed parties:
 4
       For Plaintiffs James and Gail Blais:
 5     Mr. Todd R. McFarland, Associate General Counsel           X via CM/ECF
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                                      SHERYL A. JONES, Legal Assistant
19                                    Meyer, Fluegge & Tenney, P.S.
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20
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      Amended Complaint for Preliminary                             MEYER, FLUEGGE & TENNEY, P.S.
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